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                                                                THE HONORABLE MARSHA J. PECHMAN
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 4

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 6

 7                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9
     MARTHILDE BRZYCKI,
10                                                              CASE NO.: 2:18-cv-01582-MJP
                                         Plaintiff,
11                                                              PRETRIAL ORDER
     vs.
12
     UNIVERSITY OF WASHINGTON,
13

14                                       Defendant.

15
             Plaintiff Marthilde Brzycki and the University of Washington1 submit this proposed
16
     pretrial order pursuant to Local Rules W.D. Wash. LCR 16 and 16.1.
17
                                               I.     JURISDICTION
18
             Jurisdiction is vested in this Court by virtue of 28 U.S.C. § 1331 and § 1332. This Court
19
     has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.
20
                                       II.     CLAIMS AND DEFENSES
21
             Plaintiff will pursue the following claims against Defendants at trial:
22
             1.       Discrimination on the basis of race and national origin in violation of the
23
     Washington Law Against Discrimination (“WLAD”) and Title VII of the Civil Rights Act of 1964
24
     (“Title VII”);
25
             2.       Retaliation for engaging in protected activity in violation of the WLAD and Title
26
     1
      The Court notes that it has altered the Parties’ proposed order to remove reference to Harborview Medical Center
27   as a party to this case, per Dkt. No. 101.

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 1   VII; and

 2          3.       Failure to accommodate Plaintiff’s disability in violation of the WLAD.

 3          Defendants intend to pursue the following affirmative defenses at trial:

 4          1.       Plaintiff has failed to mitigate or avoid damages;

 5          2.       Some or aspects of Plaintiff’s claims are barred by applicable statutes of limitation

 6   and failure to timely and properly exhaust administrative remedies;

 7          3.       Some or aspects of Plaintiff’s claims fail to state a cause of action for which relief

 8   may be granted; and

 9          4.       Plaintiff’s damages are due in whole or in part to pre-existing conditions or

10   conditions which are unrelated to the claims in the complaint.

11                                    III.    ADMITTED FACTS

12          The following facts are admitted by the parties:

13          1.       Harborview Medical Center is a hospital in Seattle owned by King County and

14   managed under contract by Defendant the University of Washington.

15          2.       The Stroke Clinic at Harborview cares for patients with cerebrovascular disease

16   who have suffered a stroke or transient ischemic attack or who are at risk for stroke or transient

17   ischemic attack.

18          3.       Brzycki is Black and a native of Haiti.
19          4.       Brzycki moved to the U.S. when she was eleven years old and continues to speak

20   with a Haitian accent.

21          5.       After receiving her master’s degree and her ARNP license, Brzycki began working

22   as a full-time hourly Registered Nurse 2 in Harborview’s Stroke Center in November 2014.

23          6.       Brzycki became a full-time Stroke Health Care Specialist (“HCS”) in January 2015,

24   after Harborview approved her ARNP privileges.

25          7.       Stroke Clinic operations are overseen by the Stroke Program Medical Director and

26   the Stroke Program Manager. The Stroke Program Manager oversees a small team that includes
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 1   the Stroke Program Coordinator, the Stroke Resource Nurse, and the Stroke Health Care Specialist.

 2          8.      As Stroke Health Care Specialist, Brzycki reported to the Stroke Center Program

 3   Manager. The Stroke Program Manager reported to Assistant Administrator Kathy Hare.

 4          9.      The first Stroke Center Program Manager for whom Brzycki worked was Vicki

 5   Johnson.

 6          10.     Brzycki’s duties as Health Care Specialist included seeing stroke patients

 7   discharged from the hospital after stroke for medical management, diagnostics, counseling, care

 8   coordination, and monitoring for secondary stroke prevention services. Her duties also included

 9   serving as a resource for inpatient staff and coordinating daily essential patient needs in

10   collaboration with the Stroke Resource Nurse.

11          11.     In August 2015, Brzycki complained to Johnson’s manager, Assistant

12   Administrator for Patient Care Services Kathy Hare, about Johnson and perceived challenges in

13   the Stroke Center.     Hare assigned Human Resources Consultant Nola Balch to investigate

14   Brzycki’s complaint.

15          12.     Although Balch’s investigation identified issues with Johnson’s management and

16   communications skills, Balch concluded that Johnson had not created a hostile work environment.

17          13.     In late August 2015, Brzycki also complained to the University of Washington’s

18   University Complaint Investigation and Resolution Office (“UCIRO”) about Johnson. The day
19   after making the UCIRO complaint, Brzycki asked UCIRO to close her complaint because Human

20   Resources had initiated its own investigation.

21          14.     In or around November 2015, Hare engaged Abeba “Abby” Tesfamariam, Director

22   of Procedure Operations, to assess the Stroke Center operations. Tesfamariam interviewed stroke

23   staff and providers and issued written findings.

24          15.     Johnson went on leave in December 2015 and never returned to work.

25          16.     After Johnson left, Miryah Hibbard served as an Interim Stroke Program Manager,

26   while Harborview sought a full-time replacement.
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 1          17.     Hibbard separated from Harborview in July 2016.

 2          18.     After Hibbard separated from Harborview, Hare supervised Stroke Center

 3   employees until a new Stroke Program Manager was hired.

 4          19.     In August 2016, Harborview hired Tricia O’Donohue (then known as Tricia

 5   Roland) as Stroke Program Manager. O’Donohue began her employment at Harborview on August

 6   23, 2016.

 7          20.     In November 2016, O’Donohue, working with Balch, initiated an investigation of

 8   Brzycki’s time and attendance.

 9          21.     On November 17, 2016, O’Donohue gave Brzycki a letter informing her that an

10   investigation had been initiated regarding “discrepancies in your attendance and hours of work,

11   and concerns with your work performance.”

12          22.     On November 18, Brzycki emailed UCIRO to complain that O’Donohue had been

13   subjecting her to “bullying and discrimination.”

14          23.     On November 18, Brzycki submitted a written complaint to Hare and Director of

15   Health Care Specialists Kelly Paananen about the investigation notice letter and about

16   O’Donohue’s treatment of her. Interim Human Resources Consultant Kim Francis was tasked

17   with investigating Brzycki’s complaint.

18          24.     On November 21, Brzycki met with UCIRO investigator Beth Louie about her
19   UCIRO complaint against O’Donohue. Louie closed Brzycki’s complaint as outside UCIRO’s

20   purview.

21          25.     On November 29, Francis interviewed Brzycki about her complaint to Hare and

22   Paananen about O’Donohue. Brzycki’s Union representative Sabrina Snow was present for the

23   interview. On December 13, Francis interviewed O’Donohue.

24          26.      During the week of November 28, 2016, Drs. Tirschwell and Becker met with

25   O’Donohue and Paananen and expressed concerns about Brzycki’s stroke knowledge, patient

26   documentation, receipt of feedback, and treatment decisions. On December 8, Paananen sent a
27
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 1   letter summarizing these concerns to Dr. Will Longstreth, Chief of Neurology.

 2          27.     On December 5, Harborview informed Brzycki that it had renewed her privileges

 3   and reappointed her to its Adjunct Medical Staff.

 4          28.     On January 11, 2017, Francis sent Brzycki a letter advising that she did not

 5   substantiate Brzycki’s allegation that O’Donohue had harassed her.

 6          29.     The investigation into Brzycki’s conduct proceeded in December 2016. The first of

 7   three investigatory interviews took place on December 5, 2016.

 8          30.     On December 8, 2016, Brzycki’s health care provider, Elizabeth Schuringa ARNP,

 9   requested Brzycki be placed on medical leave for four weeks due to “increased anxiety with panic

10   type disorder.” The University approved this request. Schuringa later requested to extend

11   Brzycki’s leave. The University approved this request.

12          31.     Ms. Brzycki returned to work on February 2, 2017.

13          32.     The second of the three interviews of Brzycki took place on February 13.

14          33.     On February 14, the University placed Brzycki on paid administrative leave

15   following an email she sent.

16          34.     The third of the three interviews of Brzycki took place on February 16.

17          35.     On April 7, 2017, the University provided Brzycki with a Final Counseling letter,

18   an Action Plan, a job description, and copies of various University policies.
19          36.     Prior to April 7, 2017, Brzycki had never received any discipline.

20          37.     Brzycki returned to work from administrative leave on April 18, 2017. On that

21   date, Balch, O’Donohue, and Paananen met with Brzycki to review the Final Counseling letter and

22   Action Plan.

23          38.     On April 26, 2017, Brzycki’s health care provider Rachel Sternoff, ARNP,

24   requested that Brzycki be placed on medical leave for eight weeks beginning April 26, due to

25   “increased anxiety with panic attacks and elevated blood pressure associated with work.” The

26   University approved Brzycki’s request for medical leave.
27
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 1           39.    In April 2017, after receiving the Final Counseling and Action Plan, Brzycki filed

 2   EEOC Charge No. 551-2017-01080 alleging race and national origin discrimination and

 3   retaliation. O’Donohue, Hare, and Balch received notice of Brzycki’s EEOC charge on April 27,

 4   2017.

 5           40.    On June 26, 2017, Sternoff issued a family medical leave form indicating Brzycki

 6   could return to work on July 1, 2017, with a part-time schedule of 20 hours per week for two

 7   months.

 8           41.    On June 27, Francis, now working as a Leave Specialist, received Sternoff’s

 9   medical leave request form. Francis emailed O’Donohue to ask if O’Donohue’s department could

10   accommodate Brzycki’s request for a temporary 20 hour per week schedule.               O’Donohue

11   investigated whether the department could accommodate the request. O’Donohue then drafted a

12   part-time, 20-hour per week work schedule. Before sending the schedule to Brzycki, O’Donohue

13   sent the draft schedule to Francis.

14           42.    On June 30, 2017, O’Donohue emailed the 20 hour per week schedule to Brzycki.

15           43.    O’Donohue’s schedule provided that after Brzycki’s first week back to work, a

16   regular weekly schedule would go into place in which Brzycki would be expected to work five

17   hours per day, four days per week, with Thursdays off. O’Donohue’s Tuesday schedule provided

18   for six patients to be scheduled in the Stroke Clinic.
19           44.     Brzycki responded by email to O’Donohue’s schedule. Brzycki stated that she

20   could not handle seeing six patients on a part-time clinic day. She also requested “advance

21   warning” prior to any private meetings with O’Donohue and Paananen and that her union

22   representative be present for any “private meetings with management.”

23           45.    O’Donohue consulted with Balch about Brzycki’s email. Balch drafted a response

24   for O’Donohue, which O’Donohue then sent to Brzycki. The response provided, in part, that: “The

25   schedule/workflow is not up for negotiation, though, as ever, if you run into challenges in meeting

26   the work expectations you should come to me right away so that we can engage in a problem
27
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 1   solving discussion to review workflow, priorities and strategies.”

 2          46.     Brzycki returned to work on July 5, 2017. The schedule that day provided for

 3   Brzycki to meet with Roland and Paananen at 9:00 a.m. Brzycki did not attend that meeting.

 4          47.     On July 5, 2017, Brzycki contacted Francis. She requested a private, quiet area to

 5   work, advance notice of meeting agendas, and uninterrupted work time. Brzycki did not raise

 6   issues concerning the work schedule with Francis on July 5th.

 7          48.     On the morning of July 11, O’Donohue informed Brzycki that she wanted to meet

 8   with her and Paananen the next day, July 12, to review the action plan and the part-time work

 9   schedule.

10          49.     On July 11, all six of the patients scheduled for Brzycki’s Tuesday clinic appeared

11   for their appointments. Brzycki worked more than the allotted five hours that day.

12          50.     In the morning of July 12, 2017, O’Donohue again advised Brzycki that she needed

13   to attend the meeting that day with her and Paananen. Brzycki did not attend the meeting and

14   instead went to an appointment with her counselor, Reid Stell.

15          51.     Later that day, July 12, Brzycki returned to work with a statement from Stell, which

16   requested that Brzycki be placed on medical leave. Stell’s statement provided that “all job

17   functions precluded” and indicated that Brzycki could not meet the psychological demands of the

18   job. The University granted Brzycki’s request and she went on medical leave after completing her
19   shift on July 14, 2017.

20          52.     On July 12, Brzycki emailed Director of Medical Centers Employee Relations

21   Jennifer Petritz a complaint about the part-time schedule O’Donohue implemented. Petritz

22   solicited additional information from Brzycki and O’Donohue about the schedule and responded

23   to Brzycki’s complaint via email on July 18, 2017.

24          53.     Aside from a brief period in November 2017, Brzycki never returned to full time

25   employment at Harborview.

26          54.     On July 17, 2017, Brzycki contacted UCIRO. On July 19, 2017, Brzycki completed
27
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 1   an intake interview with UCIRO investigator Alina McLauchlan regarding her complaints of

 2   discrimination and retaliation.

 3             55.    On August 16, Brzycki filed EEOC Charge No. 551-2017-01858, in which she

 4   alleged failure to accommodate, discrimination on the basis of disability, and retaliation for filing

 5   her May 2017 EEOC charge.

 6             56.    In September 2017, Brzycki accepted a conditional offer of an ARNP position with

 7   the Veterans Affairs Puget Sound Healthcare System in Seattle, Washington (“VA”).

 8             57.    Brzycki resigned her position at the University effective November 30, 2017.

 9             58.    Shortly after resigning from the University, Brzycki began working for the VA.

10             59.    Brzycki’s monthly salary at the University in 2017 was $8,826.00.

11             60.    McLauchlan investigated Brzycki’s EEOC and UCIRO complaints, interviewing

12   nine witnesses and reviewing documents. She reported her findings to UW management and to

13   the EEOC.

14                                       IV.    ISSUES OF LAW

15             The following are the issues of law and fact to be determined by the jury :

16             1.     Did the Step C Final Counseling letter issued on April 7, 2017 constitute an adverse

17   employment action—i.e., did it materially affect the compensation, terms, conditions or privileges

18   of employment?
19             2.     As to Ms. Brzycki’s state law discrimination claim, were her race and/or national

20   origin a substantial factor in the University’s decision to issue her the Step C Final Counseling

21   letter?

22             3.     As to Ms. Brzycki’s Title VII discrimination claim, were her race and/or national

23   origin a motivating factor in the University’s decision to issue her the Step C Final Counseling

24   letter?

25             4.     Was Ms. Brzycki’s participation in or opposition to any activity protected by the

26   WLAD a substantial factor in the Defendants’ decision to subject Ms. Brzycki to an adverse
27
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 1   employment action?

 2          5.      Did Harborview subject Ms. Brzycki to any adverse employment action because of

 3   her participation in or opposition to any activity protected by Title VII?

 4          6.      In July 2017, could Ms. Brzycki perform the essential functions of her job with or

 5   without accommodation?

 6          7.      Did Defendants violate the WLAD by failing to provide a reasonable

 7   accommodation for Ms. Brzycki in July 2017?

 8                                    V.    EXPERT WITNESSES

 9          The names and addresses of the expert witnesses to be used by each party at the trial and

10   the issues upon which each will testify are:

11   A.     On behalf of Plaintiff:
12
            1.      M. Reid Stell, LMHC (will testify)
13                  14535 Bel-Red Road, Suite B-202
                    Bellevue, WA 98007
14
            Reid Stell is a licensed mental health counselor and was one of Brzycki’s treating
15
     providers. He formed his opinions during treatment of Brzycki from November 2016 through
16

17   December 2017. Stell will testify regarding his treatment of Brzycki and the emotional impact of

18   Defendants’ conduct on Brzycki.

19          2.      Elizabeth Schuringa, ARNP (will testify)
                    c/o M. Re Knack
20                  Ogden Murphy Wallace P.L.L.C.
21                  901 Fifth Avenue, Suite 3500
                    Seattle, WA 98164
22                  206-442-1312
                    rknack@omwlaw.com
23
            Elizabeth Schuringa is an Advanced Registered Nurse Practitioner and former employee
24
     of Overlake Medical Center. She was one of Brzycki’s treating providers. She formed her opinions
25
     during treatment of Brzycki from December 2014 to April 2017. She will testify regarding her
26
     diagnosis and treatment of Brzycki, and her placement of Brzycki on medical leave in December
27
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 1   2016.

 2           3.     Rachel Sternoff, ARNP (will testify)
                    c/o M. Re Knack
 3                  Ogden Murphy Wallace P.L.L.C.
 4                  901 Fifth Avenue, Suite 3500
                    Seattle, WA 98164
 5                  206-442-1312
                    rknack@omwlaw.com
 6

 7           Rachel Sternoff is an Advanced Registered Nurse Practitioner and employee of Overlake

 8   Medical Center. She was one of Brzycki’s treating providers. She formed her opinions during

 9   treatment of Brzycki from April 2017 to October 2017. She will testify regarding her diagnosis

10   and treatment of Brzycki, her placement of Brzycki on medical leave in April 2016, and her

11   recommendation that Brzycki return to work on a part-time schedule in July 2016.

12   B.      On behalf of Defendants

13           1.     Dr. Russell Vandenbelt
                    11201 SE 8th Street, #105
14                  Bellevue, WA 98004
                    425-454-0255
15
             Dr. Vandenbelt is a medical doctor and psychiatrist who reviewed Plaintiff’s medical and
16
     counseling records, interviewed Brzycki, and tested her. Dr. Vandenbelt may be called to testify
17
     as to Plaintiff’s emotional distress issues and causation.
18
                                       VI.   OTHER WITNESSES
19
             The names and addresses of witnesses, other than experts, to be used by each party at the
20
     time of trial and the general nature of the testimony of each are:
21
     A.      On behalf of Plaintiff:
22
             1.     Nola Balch (possible witness only)
23                  c/o Seth Berntsen and Hathaway Burden
                    Summit Law Group
24                  315 Fifth Avenue, Suite 1000
25                  Seattle, WA 98104
             Ms. Balch is Human Resources Consultant at Harborview. She may be called to testify
26
     about Harborview’s November 2016 – April 2017 investigation of Ms. Brzycki’s time and
27
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 1   attendance.

 2          2.      Marthilde Brzycki (will testify)
                    c/o Frank Freed Subit & Thomas
 3                  705 Second Avenue, Suite 1200
 4                  Seattle, WA 98104-1798
                    206-682-6711
 5
            Ms. Brzycki is Plaintiff in this matter. She will be called to testify regarding the facts at
 6
     issue in the Complaint and Answer.
 7
            3.      William Brzycki (will testify)
 8                  c/o Frank Freed Subit & Thomas
                    705 Second Avenue, Suite 1200
 9                  Seattle, WA 98104-1798
                    206-682-6711
10
            Mr. Brzycki is Plaintiff’s husband. He will be called to testify regarding his knowledge of
11
     the emotional and financial impact of Defendants’ conduct on Plaintiff.
12
            4.      Tammie English (possible witness only)
13                  206-240-7985
14          Ms. English is a Stroke Resource Nurse at Harborview Medical Center. She may be called
15   to testify about her observations of Ms. Brzycki’s work practices.
16          5.      Tracy Ezell (possible witness only)
                    206-898-0332
17
            Ms. Ezell is the Stroke Clinic Patient Care Coordinator at Harborview Medical Center. She
18
     may be called to testify about her observations of Ms. Brzycki’s work, Ms. Brzycki’s interactions
19
     with Stroke Clinic staff, Ms. Brzycki’s interactions with Ms. O’Donohue, Stroke Clinic practices,
20
     and her knowledge of the emotional impact of Harborview’s conduct on Ms. Brzycki.
21
            6.      Kim Francis (will testify)
22                  c/o Seth Berntsen and Hathaway Burden
23                  Summit Law Group
                    315 Fifth Avenue, Suite 1000
24                  Seattle, WA 98104

25          Ms. Francis is Leave Specialist Lead at Harborview. She will be called to testify regarding

26   her investigation of Ms. Brzycki’s November 2016 complaint regarding Ms. O’Donohue, Ms.

27
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 1   Brzycki’s medical leave, and Ms. Brzycki’s requests for disability accommodations.

 2          7.      Susan Guse (possible witness only)
                    2508 NW 195th Pl.
 3                  Shoreline, Washington 98177
 4                  206-397-5638
            Ms. Guse was the former Administrative Assistant in the Neurology Office at Harborview.
 5
     She retired in December 2016. She may be called to testify regarding her observations of
 6
     interactions between Ms. Brzycki and Ms. O’Donohue and her observations of Ms. Brzycki’s
 7
     conduct and performance at work.
 8
            8.      Kathy Hare (possible witness only)
 9
                    c/o Seth Berntsen and Hathaway Burden
10                  Summit Law Group
                    315 Fifth Avenue, Suite 1000
11                  Seattle, WA 98104
12          Ms. Hare is Associate Chief Nursing Officer and Assistant Administrator at Harborview.

13   She may be called to testify about the investigation of Ms. Brzycki’s 2015 complaint against Vicki

14   Johnson, her experiences working with Ms. Brzycki and Ms. Brzycki’s managers, the investigation

15   of Ms. Brzycki’s time and attendance between November 2016-April 2017, and the discipline

16   imposed on Ms. Brzycki in April 2017.

17          9.      Dakota Johnson (possible witness only)
                    5035 S. Steel Street
18                  Tacoma, WA 98409
                    206-856-7032
19
            Dakota Johnson is a former Medical Assistant at Harborview. She may be called to testify
20
     regarding her observations of interactions between Ms. Brzycki and Ms. O’Donohue and her
21
     observations of Ms. Brzycki’s conduct and performance at work.
22
            10.     Kathy Kindberg (possible witness only)
23                  c/o Frank Freed Subit & Thomas, LLP
24                  705 Second Avenue, Suite 1200
                    Seattle, WA 98104
25                  206-682-6711

26          Ms. Kindberg is a paralegal with the firm Frank Freed Subit & Thomas LLP. She may be

27
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 1   called to testify regarding the authenticity and accuracy of certain summary exhibits.

 2             11.    Lilia Merveus (will testify)
                      24404 15th Avenue S.
 3                    Des Moines, WA 98198
 4                    206-565-4389
               Ms. Merveus is a personal friend of Plaintiff and an employee of Harborview Medical
 5
     Center. She is an immigrant from Haiti. She may be called to testify regarding her experiences of
 6
     being stereotyped as a Haitian woman, her knowledge of the emotional impact of Harborview’s
 7
     conduct on Ms. Brzycki, and her observations of Tricia O’Donohue’s conduct toward Haitian
 8
     people.
 9
               12.    Tricia O’Donohue (will testify)
10
                      c/o Seth Berntsen and Hathaway Burden
11                    Summit Law Group
                      315 Fifth Avenue, Suite 1000
12                    Seattle, WA 98104
13             Ms. O’Donohue is the Stroke Program Manager at Harborview. She will be called to testify

14   about her interactions with Ms. Brzycki in 2016 and 2017, her investigation of Ms. Brzycki’s time

15   and attendance, the decision to issue Step C Final Counseling discipline to Ms. Brzycki, and the

16   part-time schedule she issued in response to Ms. Brzycki’s June 2017 request for reasonable

17   accommodations.

18             13.    Kelly Paananen (possible witness only)
                      c/o Seth Berntsen and Hathaway Burden
19                    Summit Law Group
                      315 Fifth Avenue, Suite 1000
20
                      Seattle, WA 98104
21             Ms. Paananen is the Director of Health Care Specialists at Harborview. She may be called
22   to testify about her interactions with Ms. Brzycki between 2015 and 2017, Ms. Brzycki’s role as
23   Stroke Health Care Specialist and about Harborview’s November 2016 – April 2017 investigation
24   of Ms. Brzycki’s time and attendance.
25             14.    Sabrina Snow (will testify)
26                    6605 Sidney Rd. SW
                      Port Orchard, WA 98367
27
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                    206-817-9086
 1
             Ms. Snow is a former Union field organizer for SEIU Healthcare 1199NW and was Ms.
 2
     Brzycki’s Union representative during Kim Francis’s investigation of Ms. Brzycki’s November
 3
     18, 2016 complaint and during Harborview’s November 2016 – April 2017 investigation of Ms.
 4
     Brzycki’s time and attendance. She will be called to testify regarding her observations during these
 5
     investigations and regarding SEIU Healthcare 1199NW’s collective bargaining agreement with
 6
     Harborview.
 7
             Note: Ms. Snow may need an accommodation for a disability to facilitate her testimony.
 8
             15.    David Tirschwell, M.D. (possible witness only)
 9                  c/o Seth Berntsen and Hathaway Burden
10                  Summit Law Group
                    315 Fifth Avenue, Suite 1000
11                  Seattle, WA 98104

12           Dr. Tirschwell is the medical director of the Harborview Stroke Center. He may be called

13   to testify about the mission and purpose of Harborview’s Comprehensive Stroke Center, his

14   interactions with Ms. Brzycki between 2015 and 2017, his concerns about Ms. Brzycki’s

15   performance and conduct, and correspondence he wrote and feedback he provided concerning the

16   same.

17           NOTE: Plaintiff also reserves the right to call at trial any witness designated by
18   Defendants. Plaintiff also reserves the right to supplement her witness list.
19
     B.      On behalf of Defendants
20
             1.     Marthilde Brzycki (will testify)
21                  c/o Frank Freed Submit & Thomas LLP
22                  705 Second Avenue, Suite 1200
                    Seattle, WA 98104
23                  206-682-6711

24           Plaintiff is expected to testify as to the facts pertinent to her claims and alleged damages.

25           2.     Tricia O’Donohue fka Roland (will testify)
                    c/o Seth Berntsen and Hathaway Burden
26
                    Summit Law Group PLLC
27                  315 Fifth Avenue S, Suite 1000

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                     Seattle, WA 98104
 1
             Ms. O’Donohue is expected to testify as to her background, management of the Stroke
 2
     Program, her dealings with Ms. Brzycki, issues with Ms. Brzycki’s performance and conduct,
 3
     other issues pertinent to Plaintiff’s claims and Defendants’ defenses, and the various issues set
 4
     forth in her declarations in this matter.
 5
             3.      Nola Balch (will testify)
 6                   c/o Seth Berntsen and Hathaway Burden
 7                   Summit Law Group PLLC
                     315 Fifth Avenue S, Suite 1000
 8                   Seattle, WA 98104

 9           Ms. Balch is expected to testify as to her background, dealings and interactions with Ms.

10   Brzycki, issues with Ms. Brzycki’s performance and conduct, Balch’s investigations and findings,

11   and the various issues set forth in her declarations in this matter.

12           4.      Kim Francis (will testify)
                     c/o Seth Berntsen and Hathaway Burden
13                   Summit Law Group PLLC
                     315 Fifth Avenue S, Suite 1000
14                   Seattle, WA 98104
15           Ms. Francis is expected to testify as to her background, dealings and interactions with Ms.
16   Brzycki, and the various issues set forth in her declaration in this matter.
17           5.      Kathy Hare (will testify)
18                   c/o Seth Berntsen and Hathaway Burden
                     Summit Law Group PLLC
19                   315 Fifth Avenue S, Suite 1000
                     Seattle, WA 98104
20
             Ms. Hare is expected to testify as to her background, dealings and interactions with Ms.
21
     Brzycki, and the various issues set forth in her declaration in this matter.
22
             6.      Tammie English (possible)
23                   c/o Seth Berntsen and Hathaway Burden
                     Summit Law Group PLLC
24                   315 Fifth Avenue S, Suite 1000
                     Seattle, WA 98104
25
             Ms. English may be called to testify as to her work at Harborview and the Stroke Center
26
     and her dealings with Ms. Brzycki and Ms. O’Donohue.
27
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 1          7.      Kelly Paananen (will testify)
                    c/o Seth Berntsen and Hathaway Burden
 2                  Summit Law Group PLLC
 3                  315 Fifth Avenue S, Suite 1000
                    Seattle, WA 98104
 4
            Ms. Paananen is expected to testify as to her background, dealings and interactions with
 5
     Ms. Brzycki, issues with Ms. Brzycki’s performance and conduct, investigations into Brzycki’s
 6
     conduct, duties and responsibilities of ARNPs at Harborview, and the various issues set forth in
 7
     her declaration in this matter.
 8
            8.      Dr. David Tirschwell (will testify)
 9                  c/o Seth Berntsen and Hathaway Burden
                    Summit Law Group PLLC
10                  315 Fifth Avenue S, Suite 1000
                    Seattle, WA 98104
11
            Dr. Tirschwell is expected to testify as to his background, the Stroke Center and Clinic and
12
     his work there, his dealings and interactions with Ms. Brzycki, issues with and concerns about Ms.
13
     Brzycki’s performance and conduct, and the correspondence he wrote and feedback he provided
14
     concerning the same.
15
            9.      Alina McLauchlan (will testify)
16
                    c/o Seth Berntsen and Hathaway Burden
17                  Summit Law Group PLLC
                    315 Fifth Avenue S, Suite 1000
18                  Seattle, WA 98104

19          Ms. McLauchlan will testify about her background, UCIRO’s role, her work at UCIRO,

20   her communications and dealings with Brzycki, her investigation into Brzycki’s UCIRO and

21   EEOC complaints and her findings concerning the same, and other issues set forth in her

22   declaration.

23          10.     Mags Aleks (will testify)
                    c/o Seth Berntsen and Hathaway Burden
24                  Summit Law Group PLLC
                    315 Fifth Avenue S, Suite 1000
25
                    Seattle, WA 98104
26          Ms. Aleks is expected to testify as to her background, her work at the University, UCIRO’s
27
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 1   role at the University, and her interactions and dealings with Plaintiff relating to Brzycki’s 2015

 2   complaint to UCIRO, and the issues set forth in her declaration in this matter.

 3          11.     Kyra Becker (will testify)
                    c/o Seth Berntsen and Hathaway Burden
 4                  Summit Law Group PLLC
 5                  315 Fifth Avenue S, Suite 1000
                    Seattle, WA 98104
 6
            Dr. Becker is expected to testify as to her background, the Stroke Center and Clinic and
 7
     her work there, her dealings and interactions with Ms. Brzycki, issues with and concerns about
 8
     Ms. Brzycki’s performance and conduct and the correspondence she wrote and feedback she
 9
     provided concerning the same.
10
            12.     Anna Krumpe (possible)
11                  c/o Seth Berntsen and Hathaway Burden
                    Summit Law Group PLLC
12                  315 Fifth Avenue S, Suite 1000
                    Seattle, WA 98104
13
            Ms. Krumpe may be called to testify about her work at Harborview and in the Neurology
14
     and in the Stroke Clinic, filling in for Ms. Brzycki when she was on medical leave, preparing for
15
     and charting patient visits, working and communications with Brzycki, and related issues.
16
            13.     Vicky Johnson (possible)
17
                    425-478-3890
18                  Florida
            Ms. Johnson may be called to testify as to her background, her work at Harborview and as
19
     Manager of the Stroke Program, her interactions and dealings with Plaintiff, her issues and
20
     concerns with Plaintiff and to address the accusations Plaintiff has made against her in this case.
21
            14.     Myriah Hibbard (possible)
22
                    253-227-8906
23
            Ms. Hibbard may be called to testify as to her background, her work at Harborview and as
24
     Manager of the Stroke Program, her interactions and dealings with Plaintiff, her issues and
25
     concerns with Plaintiff and related issues.
26
            15.     Dawn Drury (possible)
27
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                     Unknown
 1
             Ms. Drury may be called to testify as to her background, her work at Harborview and as
 2
     Stroke Resource Nurse, her interactions and dealings with Plaintiff, her issues and concerns with
 3
     Plaintiff and related issues.
 4
             16.     Dr. Rizwan Kalani (possible)
 5                   c/o Seth Berntsen and Hathaway Burden
 6                   Summit Law Group PLLC
                     315 Fifth Avenue S, Suite 1000
 7                   Seattle, WA 98104

 8           Dr. Kalani may be called to testify as to his background, his work at Harborview and to

 9   dealings and interactions and observations of Plaintiff.

10           17.     Ashvin Thomas (possible)
                     apthomas@uw.edu
11                   206-543-4028
                     Box 354984
12                   1410 NE Campus Parkway
13                   Seattle, WA 98195
             Mr. Thomas may be called to testify as to his background, his work at the University, his
14
     assistance with the investigation into Plaintiff’s conduct, information he provided to Ms. Balch
15
     about Ms. Brzycki’s conduct, his attendance at and observations of the second investigatory
16
     meeting, and related issues.
17
             18.     Zenaida Shattuck (possible)
18
                     c/o Seth Berntsen and Hathaway Burden
19                   Summit Law Group PLLC
                     315 Fifth Avenue S, Suite 1000
20                   Seattle, WA 98104
21           Ms. Shattuck may be called to testify as to her background, her work at the University, her
22   and her department’s assistance with the investigation into Plaintiff’s conduct, her attendance at
23   and observations of the first investigatory meeting, and related issues.
24           19.     Abby Tesfamariam, (will testify, via perpetuation deposition)
                     206.362.7305
25                   atesfama@hotmail.com
26           Ms. Tesfamariam has already testified in this matter and her testimony will be presented at
27
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 1   trial on all issues upon which she was examined, including her background, her work at

 2   Harborview, her investigation into the Stroke Center, and her findings and assessments, including

 3   those related to Plaintiff.

 4           20.     Darcy Jaffe (possible)
                     206.216-2501 work
 5
             Ms. Jaffe may be called to testify about her work at Harborview and her knowledge of
 6
     issues with Plaintiff’s performance and conduct and decision-making relating to Plaintiff,
 7
     including the Final Counsel.
 8
             21.     Sandra Elliott (possible)
 9                   selliott@uw.edu
10                   206-598-3975, 206 598-4480
                     Box 356152
11                   1410 NE Campus Parkway
                     Seattle, WA 98195
12
             Ms. Elliott may be called to testify as to her work at the University as a Nurse Recruiter,
13
     Plaintiff’s job applications to positions at UWMC, how those applications were handled, and other
14
     issues, including those addressed in her declaration in this matter.
15
             22.     Beth Louie (will testify, via perpetuation deposition)
16                   c/o Seth Berntsen and Hathaway Burden
                     Summit Law Group PLLC
17                   315 Fifth Avenue S, Suite 1000
18                   Seattle, WA 98104
             Ms. Louie has already testified in this matter and her testimony will be presented at trial
19
     on all issues upon which she was directly examined, including her handling of Plaintiff’s late 2016
20
     complaint to UCIRO, her interview of Plaintiff, and her conclusions and actions concerning the
21
     same.
22
             23.     Jennifer Petritz (will testify, via perpetuation deposition)
23
                     c/o Seth Berntsen and Hathaway Burden
24                   Summit Law Group PLLC
                     315 Fifth Avenue S, Suite 1000
25                   Seattle, WA 98104
26           Ms. Petritz will be testifying via perpetuation deposition and her deposition may be
27
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 1   presented at trial concerning her work at the University and Harborview, practices and procedures

 2   of human resources at Harborview, her involvement in issues relating to Ms. Brzycki, including

 3   but not limited to responding to complaints Plaintiff made.

 4              NOTE: Defendants reserve the right to call at trial any witness designated by Plaintiff.

 5   Defendants also reserve the right to supplement their witness list.

 6                                          VII.    EXHIBITS

 7         A.      Plaintiff’s Exhibits

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11
        1. 10/22/2014       UWMB007619          Performance Evaluation                     X
12                                                                                         ER 401,
                                                                                           403.
13                                                                                         MIL
                                                                                           ER 801,
14                                                                                         802,
                                                                                           Hearsay
15      2. 11/3/2014        UWMB00000616        Brzycki RN2 Offer Letter   X
        3. 1/26/2015        UWMB00000638        Brzycki Stroke HCS         X
16                                              Offer Letter
        4. 8/25/2015        UWMB000002569       Email from Brzycki to      X
17
                                                UCIRO re Work
18                                              environment
        5. 8/26/2015        UWMB002950          Email from Hare to Balch   X
19                                              re FW: stroke area
        6. 8/25/2015        UWMB008626          Email from Hare to         X
20                                              Brzycki
        7. 9/6/2015         MB-002537           Printout of Brzycki’s                                      X
21                                              weekly schedule                                            ER
                                                                                                           401,
22                                                                                                         403
23      8. 10/?/2015        UWMB002947          Challenges in the Stroke X
                                                Center document
24
        9. 2015             MB-000065           Excerpts of CBA between                                    X
25                                              Harborview and SEIU                                        ER
                                                Healthcare 1199NW                                          401,
26                                                                                                         403
                                                                                                           Not
27                                                                                                         comp

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 4                                                                                               lete.
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 5                                                                                               best
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 6                                                                                               nce
       10. 4/1/2016     MB-001000    Email from Brzycki to                                       X
 7                                   Arning re friend from                                       ER
                                     Haiti                                                       401,
 8
                                                                                                 403
 9                                                                                               ER
                                                                                                 801,
10                                                                                               802,
                                                                                                 Hear
11                                                                                               say
       11. 5/12/2016    MB-000702    Email from Hibbard to                                       X
12                                   Brzycki re Confidential                                     ER
                                     email                                                       401,
13                                                                                               403
                                                                                                 Foun
14                                                                                               datio
                                                                                                 n.
15                                                                                               ER
                                                                                                 801,
16                                                                                               802,
                                                                                                 Hear
17                                                                                               say
18     12. 5/18/2016    MB-000707    Email from Brzycki to                       X
                                     Becker re Patient f/u                       ER 401,
19                                   ARNP outpatient visit                       403
       13. 5/19/2016    MB-000705    Email from Brzycki to                                       X
20                                   Hibbard re patient ed on                                    ER
                                     units                                                       401,
21                                                                                               403
                                                                                                 Foun
22                                                                                               datio
                                                                                                 n.
23                                                                                               ER
                                                                                                 801,
24                                                                                               802,
                                                                                                 Hear
25                                                                                               say
       14. 7/26/2016    UWMB008698   Email from Hare re Tricia   X
26
                                     Roland accepts Stroke
27                                   Center Manager position

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 3

 4     15. 7/27/2016    UWMB008700     Email from Hare to                           X
                                       Brzycki re Evaluation                        ER 401,
 5                                                                                  403
       16. 8/3/2016     MB-002360      Email from Drum to                                           X
 6                                     Ezell, Brzycki re For your                                   ER
                                       review: New Stroke Call                                      401,
 7                                     Algorithm                                                    403
                                                                                                    Foun
 8
                                                                                                    datio
 9                                                                                                  n.
                                                                                                    ER
10                                                                                                  801,
                                                                                                    802,
11                                                                                                  Hear
                                                                                                    say
12     17. 8/12/2016    MB-000829      Email from Brzycki to        X
                                       Hare Re: Job
13                                     Duties/Description
       18. 9-11/2016    UWMB00001238   Multiple emails from         X
14                                     Roland regarding Brzycki
       19. 11/3/2016    UWMB008735     Email from Hare to           X
15                                     Brzycki re role as a
                                       provider
16     20. 11/14/2016   UWMB009418     Email from Brzycki to        X
17                                     Paananen re ARNP role
       21. 11/16/2016   UWMB005539     Email from Brzycki re        X
18                                     Stroke QI Meeting
       22. 11/17/2016   UWMB006137     Letter from Roland re        X
19                                     Investigatory Meeting
       23. 11/18/2016   UWMB009506     Email from Hare to           X
20                                     Brzycki et al re
                                       Disciplinary meeting for
21                                     work performance and
                                       hours worked, requested
22                                     by Tricia Roland
       24. 11/18/2016   UWMB0002616    Email from Brzycki to        X
23                                     UCIRO re Discrimination
                                       and bullying from
24                                     manager
25     25. 11/21/2016   UWMB0002606    Intake Notes                 X
       26. 11/29/2016   UWMB00001178   Francis meeting notes        X
26     27. 2016         MB-002185      M.Brzycki, ARNP- How         X
                                       I manage my time
27
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 4     28. 12/5/2016    MB-000692      Email re HMC            X
                                       Reappointment
 5     29. 12/8/2016    UWMB002925     Health Care Provider    X
                                       Certification by
 6                                     Schuringa
       30. 12/13/2016   UWMB00001177   Francis meeting notes   X
 7     31. 1/3/2017     UWMB002922     Health Care Provider    X
 8                                     Certification by
                                       Schuringa
 9     32. 1/11/2017    UWMB00001177   Letter from Francis     X
       33. 1/2017       UWMB003089     UW Medicine Chart       X
10                                     Policy
       34. 1/17/2017    UWMB00290      Letter from Schuringa                   X
11                                                                             ER 401,
                                                                               403
12     35. 2/14/2017    UWMB004433     Email from Brzycki re   X
                                       Hours verified
13     36. 2/14/2017    MB-002353      Letter from Hare re     X
                                       Administrative Leave
14     37. 2/17/2017    MB-000017      Email from Brzycki re                                   X
                                       Compliance Audit                                        Not
15
                                       Results                                                 best
16                                                                                             evide
                                                                                               nce.
17                                                                                             Inco
                                                                                               mplet
18                                                                                             e
                                                                                               (miss
19                                                                                             ing
                                                                                               pages
20                                                                                             ).
       38.                             WITHDRAWN
21     39. 4/18/2017    UWMB007456     Employee grievance                      X
                                                                               ER 401,
22                                                                             403
                                                                               ER 801,
23                                                                             802,
                                                                               Hearsay
24
       40. 4/21/2017    UWMB009687     Email from Brzycki to                   X
25                                     Becker and Tirschwell                   ER 401,
                                                                               403
26     41. 4/27/2017    UWMB004736     Email from Carnes re    X
                                       New EEOC charge
27
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 3

 4     42. 4/27/2017     UWMB002903     Health Care Provider        X
                                        Certification by Sternoff
 5     43. 5/4/2017      MB-00023       EEOC Charge                                 X
                                                                                    ER 401
 6                                                                                  403
       44. 5/30/2017     UWMB002900     Letter from Sternoff        X
 7     45. 6/27/2017     UWMB002893     Health Care Provider        X
 8                                      Certification by Sternoff
       46. 6/28/2017     UWMB00001631   Email from Francis re       X
 9                                      Mattie Brzycki
       47. 6/30/2017     UWMB005117     Email from Roland re        X
10                                      Your return to work on
                                        7/3
11     48. 6/30/2017     UWMB005122     Email from Brzycki re       X
                                        Your return to work on
12                                      7/3
       49. 6/30/2017     UWMB005127     Email from Roland re        X
13                                      Your return to work on
                                        7/3
14     50.                              WITHDRAWN
       51.                              WITHDRAWN
15
       52. 7/13/2017     UWMB005327     Email from Roland re        X
16                                      Stroke Center MB
                                        modified schedule
17     53. 7/18/2017     UWMB010956     Email from Petritz re       X
                                        Complaint Response
18     54. 7/19/2017     UWMB10959      Email from Brzycki re       X
                                        Complaint Response
19     55.   7/28/2018   MB-000039      Letter from McLauchlan      X
       56.                              WITHDRAWN
20     57.   8/4/2017    MB-002082      Letter from Stell           X
       58.   8/9/2017    MB-002182      Letter from McLauchlan      X
21     59.   8/16/2017   MB-000047      EEOC Charge                 X
22     60.   8/25/2017   UWMB005517     Email from McLauchlan       X
                                        re EEOC Charge
23                                      Notification – Marthilde
                                        Brzycki
24     61. 10/18/2017    MB-000332      Health Care Provider        X
                                        Statement by Stell
25     62. 11/11/2017    MB-000337      Health Care Provider        X
                                        Statement by Stell
26     63. 11/18/2017    UWMB00001993   Email from Stell re Fax     X
       64. 11/29/2017    UWMB00002039   Email from Brzycki re       X
27
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 3

 4                                     Status of disability
                                       accommodation request
 5     65. 2011-2017    UWMB00002767   Harborview Pay Records    X
       66. 6/16/2017    UWMB00002768   Harborview Pay Records    X
 6     67.                             Harborview 2017 Pay                                       X
                                       History Summary (FRE                                      Not
 7                                     1006)                                                     best
 8                                                                                               evide
                                                                                                 nce.
 9                                                                                               Foun
                                                                                                 datio
10                                                                                               n.
                                                                                                 ER
11                                                                                               801,
                                                                                                 802,
12                                                                                               Hear
                                                                                                 say
13     68.                             Summary Timeline                                          X
                                                                                                 Not
14                                                                                               best
                                                                                                 evide
15                                                                                               nce.
                                                                                                 Foun
16                                                                                               datio
                                                                                                 n.
17
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18                                                                                               801,
                                                                                                 802,
19                                                                                               Hear
                                                                                                 say
20     69. Various      MB-000723      WOW Cards (will redact                                    X
                                       names in final exhibit)                                   MIL
21                                                                                               ER
                                                                                                 801,
22                                                                                               802,
                                                                                                 Hear
23                                                                                               say
       70.                             Harborview Campus Map     X
24     71.                             PHOTO: Harborview         X
                                       Aerial View
25
       72.                             PHOTO: Harborview         X
26                                     Entrance
       73.                             PHOTO: Ninth and          X
27                                     Jefferson Entrance

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 3

 4     74. 11/11/19                    PHOTO: Neurology           X
                                       Library 1
 5     75. 11/11/19                    PHOTO: Neurology           X
                                       Library 2
 6     76. 11/11/19                    PHOTO: Provider Room       X
                                       1
 7     77. 11/11/19                    PHOTO: Provider Room       X
 8                                     2
       78.   11/11/19                  PHOTO: Stroke Center 1     X
 9     79.   11/11/19                  PHOTO: Stroke Center 2     X
       80.   11/11/19                  PHOTO: Stroke Center 3     X
10     81.   11/11/19                  PHOTO: Stroke Center 4     X
       82.   11/11/19                  PHOTO: Stroke Center 5     X
11     83.   11/11/19                  PHOTO: Stroke Clinic 1     X
       84.   11/11/19                  PHOTO: Stroke Clinic 2     X
12     85.   11/11/19                  PHOTO: Stroke Clinic 3     X
       86.                             WITHDRAWN
13     87.                             WITHDRAWN
14     88.   TBA                       PHOTO: Family 1                                            X
                                                                                                  MIL
15     89. TBA                         PHOTO: Family 2                                            X
                                                                                                  MIL
16     90. TBA                         PHOTO: Marthilde                                           X
                                       Brzycki                                                    MIL
17     91. TBA                         PHOTO: Marthilde                                           X
                                       Brzycki with Daughter                                      MIL
18     92. TBA                         PHOTO: Rainier                                             X
                                                                                                  MIL
19     93. TBA                         PHOTO: San Francisco                                       X
                                                                                                  MIL
20     94. TBA                         PHOTO: Snow Play                                           X
21                                                                                                MIL
       95. TBA                         PHOTO: Thanksgiving                                        X
22                                                                                                MIL
       96. TBA                         PHOTO: Brzyckis at                                         X
23                                     Harborview                                                 MIL
       97. 9/9/2016     MB-000901      Email from Tricia Roland                   X
24                                     RE: Good morning                           ER 401,
                                                                                  403
25                                                                                ER 801,
                                                                                  802,
26                                                                                Hearsay
27
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 1         B.       Defendants’ Exhibits

 2   Def           Date               Document                    Bates        Stip
                                                                               Adm
                                                                                      Stip
                                                                                      Auth
                                                                                                Object to
                                                                                                Auth and
                                                                                                            Adm

                                                                                      But not   Adm
     Ex                                                                               Adm
 3   No
     101                      UCIRO file                    UWMB0002589-2617   X
 4
     102                      Information About UCIRO       UWMB003374-3376    X
 5   103                      UW Policy Directory           UWMB003378-3383    X
                              Presidential Orders
 6                            Executive Order No. 31
     104                      UW Policy Directory           UWMB003384-3389    X
 7                            Administrative Police
                              Statement 46.3
 8   105        11/23/2015    Email Hare to Balch re        UWMB006012-6017    X
                              document with att. (Stroke
 9                            work flow.docx)
     106        10/01/2015    Petritz interview questions   UWMB003044-3049           Hears
10                            for and notes of interview                              ay
                              of Dawn Drury
11
     107        02/14/2017    Email from Balch to Petritz   UWMB006804-6805    X
12                            re Hours verified
     108        07/12-        Emails between Petritz and    UWMB010956-10958   X
13              18/17         Brzycki
     109         07/13/2017   Email from Roland to          UWMB005327-5342    X
14                            Petritz with attachments
     110                      Clinic updated with totals    UWMB005340         X
15                            excel document                (native)
     111        07/12/2017    Emails between Petritz and    UWMB010933-10935   X
16                            Brzycki
      112 07/2008             Job description - Clinical    UWMB00000031-33           Found
17                            Nurse Practitioner                                      ation;
                                                                                      401,
18
                                                                                      402
19   113        09/14/2011 Resume                           UWMB00000582-584          401,
                                                                                      402
20   114        10/21/2014 Resume                           UWMB00000611-613   X
     115        11/13/2014 Letter to Marthilde Brzycki      UWMB00000628       X
21                         re offer to employ as
                           Health Care Specialist
22   116        12/18/2014 Schuringa medical records        MB-001901-1906     X
     117        12/18/2014 Schuringa medical records        MB-001906-1910     X
23
     118        02/20/2015 FW: Stroke Clinic Apts           MB000983-86               MIL
24   119        08/25/2015 Email from MB to Aleks re        UWMB0002574-2575   X
                           Your UCIRO inquiry
25   120        08/25/2015 Email from Mags Aleks to         UWMB0002580               403
                           MB re "Your UCIRO                                          (cumu
26                         Inquiry"                                                   lative)
27
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                                                                      Stip   Stip      Object to   Adm
     Def      Date                Document                Bates       Adm    Auth      Auth and
 1   Ex                                                                      But not   Adm
                                                                             Adm
     No
 2   121    08/26/2015 Aleks handwritten notes      UWMB0002583              Found
 3                     [t/c from Marthilde                                   ation,
                       Brzycki, ok to close for                              Hears
 4                     now]                                                  ay
     122    08/26/2015 Emails b/w MB and Nola       USMB002963-2964   X
 5                     Balch re "Your call"
     123    08/26/2015 Hare email to Plaintiff      UWMB008626        X
 6   124    08/26/2015 Handwritten notes            UWMB002952-2961   X
     125    08/27/2015 Health Care Specialist Job   UWMB00001377-            Found
 7                     Description                  1378                     ation
 8   126    09/03/2015 Handwritten notes re         UWMB003013        X
                       Stroke Investigation
 9   127    10/09/2015 Notes re Workplace           UWMB003060-3062   X
                       Investigation Wrap-Up
10   128    10/13/2015 FW: salary/overtime          MB000978-79       X
     129    12/01/2015 Agenda                       UWMB00000976      X
11
     130    12/24/2015 Email from MB to Miryah      MB-000676         X
12                     Hibbard re Meeting with
                       Kathy Hare and Kelly
13   131    10/04/2016 Roland email re Kronos       UWMB006051        X
                       Punch
14
     132    10/26/2016 Roland emails with           UWMB003835-3836   X
15                     physicians
     133    10/28/2016 Email re SSRS Punch          UWMB00000046-50   X
16                     Origin Report
     134    10/31/2016 Card Activity Report         UWMB00001228-     X
17                     8/1/16-10/31/16              1230
     135    11/01/2016 Concerns re MB written on    UWMB00001236      X
18                     11/1/2016
     136    11/01/2016 Notes re 1:1 w/ Tricia       UWMB000057        X
19                     Roland
     137    11/01/2016 Email from Roland to         UWMB00000058             Hears
20                     Roland re rounds                                      ay
     138    11/09/2016 Card Activity Report from    UWMB00001255      X
21
                       11/1/16-11/7/16
22   139    11/09/2016 Clock-in/Garage Entry        UWMB00000091-92   X
                       Discrepancies 8/1/16-
23                     11/7/16
     140    11/10/2016 Notes                        UWMB00000065-66   X
24   141    11/10/2016 Email from Roland to         UWMB00000067-77          Hears
                       Balch and others FW: This                             ay
25                     AM rounds, with various
                       emails
26   142    11/14/2016 Email from Roland to         UWMB00000078      X
                       Roland and Balch re early
27
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                                                                       Stip   Stip      Object to   Adm
     Def      Date                Document                Bates        Adm    Auth      Auth and
 1   Ex                                                                       But not   Adm
                                                                              Adm
     No
 2                     mornings in the office for
 3                     MB
     143    11/14/2016 Email from Roland to         UWMB00000079       X
 4                     Balch and others re MatTie
                       and Stroke Center Meeting
 5                     11/14/16
     144    11/14/2016 Email thread from Kelly      UWMB00001271-      X
 6                     Paananen to Tricia Roland,   1274
                       Nola Balch re "ARNP role"
 7                     with attachment
     145    11/14/2016 Audio recording of Stroke    UWMB003241         X
 8                     Center Meeting
 9   146    11/14/2016 Schuringa medical records    MB-001910-1916     X

10   147    11/15/2016 Email from Roland to         UWMB00000084-85    X
                       Balch, Paananen re FW:
11                     Today’s rounds
     148    11/15/2016 Balch notes re               UWMB00001279-      X
12                     Investigation Touch Base     1281
                       Mtg
13   149    11/15/2016 Balch Notes re meeting       UWMB00000093-94    X
                       with Kelly P & Tricia R
14
     150    11/16/2016 Roland email to Balch,       UWMB00000095-96    X
15                     Paananen
     151    11/16/2016 Roland email to Balch,       UWMB00000097-98    X
16                     Paananen
17   152    11/17/2016 Email from Roland to         UWMB00001296-      X
                       Balch re FW Stroke Q1        1301
18                     Meeting

19   153    11/17/2016 Roland email re FW: Clinic   UWMB00000102-103   X
                       Appt times
20   154    11/18/2016 Email with card activity     UWMB00000114-115   X
                       report
21
     155    11/18/2016 Email re FW Submitted        UWMB00000116-117   X
22                     Time Off Days…
     156    11/18/2016 Email from UCIRO to MB       UWMB0002614-2615   X
23                     re Your Inquiry re
                       Complaint Processes
24   157    11/18/2016 Email from Balch to          UWMB00001116-      X
                       Francis re Disciplinary      1130
25                     meeting for work
                       performance and hours
26                     worked, requested by
27
     PRETRIAL ORDER - 29
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                                                                         Stip   Stip      Object to   Adm
     Def      Date                Document                  Bates        Adm    Auth      Auth and
 1   Ex                                                                         But not   Adm
                                                                                Adm
     No
 2                      Tricia Roland (with
 3                      attachments)

 4   158    11/18/2016 Email string re Disciplinary   UWMB00001311-      X
                       meeting for work               1314
 5                     performance…
 6   159    11/20/2016 Dr. Tirschwell email re        UWMB004024-4027           401,
                       Some comments on this                                    402
 7                     doc
     160    11/21/2016 Email re OT                    UWMB00000137-138   X
 8
     161    11/22/2016 Tirschwell email Re QI:        UWMB009838-9840    X
 9                     confidential
10   162    11/23/2016 Email from Roland to           UWMB00000139       X
                       Balch re Stroke Center
11   163    11/23/2016 Stell Chart Notes              MB-001865-1896     X
12
     164    11/30/2016 Roland email to Roland         UWMB00000148       X
13                     and Balch re Mattie and
                       rounds
14   165    12/02/2016 Balch email re                 UWMB006286-6292    X
                       Investigatory Interview:
15                     Monday 12/5
     166    12/05/2016 Attendance/Work Hours          UWMB006505-6514    X
16                     and Work Performance
                       Concerns, HMC Stroke
17                     Program, December 2016
     167    12/05/2016 Investigatory Interview:       UWMB00001358-      X
18                     Clock-In/Garage Entry          1368
                       Discrepancies 8/1/16-
19
                       11/17/16
20   168    12/05/2016 OfficeMax handwritten          MB-001932-1956     X
                       notes
21   169    12/06/2016 Email from Tirschwell to       UWMB003177-3179    X
                       MB re MB Compliance
22                     Audit Results
     170    12/06/2016 Email from MB to David         MB-000710-719             MIL
23                     Tirschwell w/att
     171    12/06/2016 Email string re out sick       UWMB00000223       X
24
     172    12/06/2016 Email string re Please         UWMB00000225-227   X
25                     cancel clinic patients
     173    12/06/2016 Balch email to Snow re         UWMB006308         X
26                     Continuation of

27
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                                                                         Stip   Stip      Object to   Adm
     Def      Date                Document                   Bates       Adm    Auth      Auth and
 1   Ex                                                                         But not   Adm
                                                                                Adm
     No
 2                       Investigatory Interview: M.
 3                       Brzycki
     174    12/07/2016 Letter from Schuringa           MB-001763         X
 4
     175    12/08/2016 Email from Paananen to          UWMB009887-9889   X
 5                     Longstreth re Information
                       re healthcare specialist with
 6
                       attachment
 7   176    12/08/2016 FML Certification               UWMB002925-2926          403
                                                                                (dup
 8                                                                              of 29)
     177               WITHDRAWN
 9   178    12/12/2016 Medical Leave-FMLA              UWMB00000742      X
                       Approval
10   179    01/03/2017 FML Certification               UWMB002922-2923          403
                                                                                (dup
11                                                                              of 31)
     180    01/04/2017 Medical Leave-FMLA-             UWMB00000745      X
12                     Extended
13   181    01/09/2017 Email from Tirschwell to        UWMB006476-6479   X
                       MB et al re M. Brzycki -
14                     My hours works - stroke
                       clinic, center office, ect.
15                     (with attachment)
     182    01/09/2017 Email from Tirschwell to        UWMB00001381-     X
16                     MB et al                        1383
17   183    01/17/2017 Overlake record - Gow MA        MB-002695         X

18   184    01/17/2017 Letter from Schuringa           UWMB002920               403
                                                                                (dup
19                                                                              of 34)
     185    01/25/2017 Medical Leave-FMLA              UWMB00000747      X
20                     Approval-Revised
21   186    01/25/2017 Email from Francis to           UWMB00001610             401,
                       Debbie Reandeau, Nola                                    402
22                     Balch re Mathilde Brzycki
                       - Additional Information
23                     follow up
     187    02/02/2017 Paananen notes re meeting       UWMB00001388      X
24                     with Mattie and Tricia

25
     188    02/02/2017 Email from Roland to            UWMB006620-6622   X
26                     Balch re Documentation of

27
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                                                                          Stip   Stip      Object to   Adm
     Def      Date                Document                   Bates        Adm    Auth      Auth and
 1   Ex                                                                          But not   Adm
                                                                                 Adm
     No
 2                       conversation with MB on
 3                       2/2
     189    02/02/2017 Tirschwell email re Call        UWMB006628         X
 4                     from Mattie

 5
     190    02/03/2017 Email string with Plaintiff,    UWMB00004379       X
 6                     Tirschwell and others re
                       Prep Time for clinic
 7                     patients
     191    02/03/2017 Email string RE: FW: Fwd:       MB000358           X
 8                     Prep time for clinic patients
     192    02/07/2017 Roland to Brzycki email re      UWMB00000235       X
 9                     Friday’s Clinic Notes
     193    02/07/2017 Roland email to Roland,         UWMB00000240-242   X
10                     Paananen, Hare, Balch re
11                     Stroke Clinic
     194    02/13/2017 Attendance/Work Hours           UWMB00001424-      X
12                     and Work Performance            1434
                       Concerns, HMC Stroke
13                     Program, Second
                       Investigatory Interview,
14                     February 2017
     195    02/14/2017 Paananen notes re meeting       UWMB00001441       X
15                     with Mattie and Kathy
                       Hare
16   196    02/16/2017 Attendance/Work Hours           UWMB00001443-      X
                       and Work Performance            1446
17                     Concerns, HMC Stroke
                       Program, Third
18                     Investigatory Interview,
                       February 2017
19
     197    02/17/2017 Email from Roland to            UWMB006899-6904    X
20                     Balch re Third
                       Investigatory Interview
21                     with MB TR notes
     198    03/01/2017 Investigatory Findings - M.     UWMB00001506-      X
22                Date Brzycki                         1511
                approx
23   199    03/08/2017 Email from Thomas to            UWMB007000-7003    X
                       Balch re KRONOS SSRS
24                     Punch Origin Report

25   200    03/16/2017 Email from Roland to            UWMB004511-4513           Hears
                       Balch re Stroke Center -                                  ay
26                     MB with att. (Observations

27
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                                                                           Stip   Stip      Object to   Adm
     Def      Date                Document                    Bates        Adm    Auth      Auth and
 1   Ex                                                                           But not   Adm
                                                                                  Adm
     No
 2                       regarding Marthilde
 3                       Brzycki.docx)
     201    03/17/2017   Email string Re: next steps-   UWMB007015                Hears
 4                       confidential                                             ay
     202    03/30/2017   Balch email with Snow and      UWMB00000354-355   X
 5                       notes
     203    04/02/2017   Email from Tirschwell to       UWMB007097-7098           Hears
 6                       Balch re Confidential -                                  ay
                         Marthilde Brzycki
 7   204    04/07/2017   Email from UCIRO to MB         UWMB011004         X
                         re UCIRO inquiry
 8
     205    04/07/2017 Email from Balch to MB re        UWMB007211-7255    X
 9                     Step C Final Counseling
                       including att. (M_Brzycki
10                     Step C Final Counseling
                       Packet_April 2017.pdf.)
11   206     04/7/2017 Balch email with union           UWMB00000368-369   X
                       representatives re Step C
12                     Final Counseling Meeting
     207    04/11/2017 Brzycki email to herself re      MB-000898                 401,
13                     Fwd: role as a provider                                    402,
                                                                                  403
14                                                                                (propo
                                                                                  se
15                                                                                using
                                                                                  UWM
16                                                                                B0087
                                                                                  35
17
                                                                                  instea
18                                                                                d)
     208    04/13/2017 EEOC Intake                      MB-001714-1721     X
19                     Questionnaire
     209    04/17/2017 Email to                         MB-000758-767             401,
20                     esgeneral@lni.wa.gov from                                  402,
                       MB re worker rights                                        403
21                     complaints
     210    04/18/2017 Final Counsel handwritten        UWMB00000421-424   X
22                     notes
     211    04/21/2017 Email from Paananen to           UWMB009702         X
23                     MB, Roland, Tirschwell re
                       Clinic
24   212    04/21/2017 Email string Fwd: Clinic         UWMB004667-4668    X
25   213    04/22/2017 Email from MB to                 MB-000521-22              401,
                       Paananen re conversation                                   402,
26                     today                                                      403.
                                                                                  Propo
27
     PRETRIAL ORDER - 33
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                                                                     Stip   Stip      Object to   Adm
     Def      Date                Document              Bates        Adm    Auth      Auth and
 1   Ex                                                                     But not   Adm
                                                                            Adm
     No
 2                                                                          se
 3                                                                          using
                                                                            UWM
 4                                                                          B0096
                                                                            84-85
 5                                                                          instea
                                                                            d
 6   214    04/25/2017 FW: Today’s meeting        MB000834-35               401,
                                                                            402,
 7                                                                          403.
                                                                            Propo
 8                                                                          se
                                                                            using
 9                                                                          UWM
                                                                            B0046
10                                                                          81-82
                                                                            instea
11                                                                          d
12   215    04/26/2017 Roland Email to Balch,     UWMB00000429-436   X
                       Hare, and Paananen re MB
13                     action plan
     216    04/26/2017 Sternoff Chart Notes       MB-001916-1918     X
14   217    04/26/2017 UW FML Certification       UWMB002903-2905           403
                                                                            (dup
15                                                                          of 42)
     218    05/05/2017 Medical Leave-FMLA         UWMB00000765       X
16                     Approval
     219    05/08/2017 Email from McLauchlan re   UWMB010999-        X
17                     MB re UCIRO intake         011000
18   220    05/08/2017 EEOC Charge of             UWMB007573-7574    X
                       Discrimination
19   221    05/08/2017 Email from McLauchlan to                             403
                       MB re UCIRO Intake                                   (near
20                                                                          dup of
                                                                            219)
21   222    05/08/2017 Charge of Discrimination   MB-000023-25              403
22                     EEOC                                                 (dup
                                                                            of 43)
23   223    05/26/2017 Sternoff Chart Notes       MB-001918-1920     X
     224    05/30/2017 Letter from Sternoff to    UWMB002900-2901           403
24                     Brzycki                                              (dup
                                                                            of 44)
25   225    05/31/2017 Medical Leave letter       UWMB00000768       X

26
27
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                                                                     Stip   Stip      Object to   Adm
     Def      Date                Document               Bates       Adm    Auth      Auth and
 1   Ex                                                                     But not   Adm
                                                                            Adm
     No
 2   226    06/27/2017 Leave Cert of Health Care   UWMB002893-2894          403
 3                     Provider - Sternoff                                  (inco
                                                                            mplet
 4                                                                          e dup
                                                                            of 45)
 5   227    06/27/2017 UW FML Certification        UWMB002893-2895          403
                                                                            (dup
 6                                                                          of 45,
                                                                            near
 7                                                                          dup of
                                                                            226
 8                                                                          (adds
                                                                            cover)
 9                                                                          )
     228    06/29/2017 Email b/w Kim Francis and   UWMB005053-5055   X
10                     Tricia Roland re Mattie
                       Brzycki
11
     229    06/29/2017 Letter to Annalie Greer     UWMB000000001-9          MIL
12                     from Alina McLauchlin
     230    06/30/2017 Email from Balch to         UWMB005126        X
13                     Roland, Hare re How’s
                       this?
14   231    06/30/2017 Email from Roland to        UWMB005069-5071   X
                       mjeanty re Your return to
15                     work on 7/3 with att. (MB
                       modified schedule.pptx)
16   232    06/30/2017 Email from Roland to MB     UWMB0000780       X
                       re MB modified schedule
17   233               WITHDRAWN
     234    06/30/2017 Medical-Leave Disability    UWMB00001641-     X
18
                       Approval letter from        1642
19                     Francis
     235    07/07/2017 Email from Francis to MB    UWMB00001652-     X
20                     re Yesterday's questions    1661
     236    07/10/2017 Email from Roland to        UWMB00001665-            401,
21                     Francis re MB ("private     1670                     402
                       quiet place")
22   237    07/11/2017 Email from Roland to MB     UWMB008052        X
                       re Meeting - Final
23                     Consulting Action Plan
                       Review, Modified
24                     Schedule Review
     238    07/12/2017 Health Care Provider        UWMB002876-2881   X
25                     Statement - Stell
26
27
     PRETRIAL ORDER - 35
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                                                                        Stip   Stip      Object to   Adm
     Def      Date                Document                 Bates        Adm    Auth      Auth and
 1   Ex                                                                        But not   Adm
                                                                               Adm
     No
 2   239    07/12/2017 Fax cover Sheet signed by     UWMB00001684       X
 3                     M. Reid Stell, LMHC

 4   240    07/12/2017 Francis email to numerous     UWMB00001678       X
                       individuals re Mattie
 5                     Brzycki
     241               WITHDRAWN
 6
     242    07/13/2017 Letter re Medical Leave-      UWMB00000801-802   X
 7                     Disability Approval

 8   243    07/17/2017 Fwd: Updated HCP              MB000616-20               401,
                       Information                                             402,
 9                                                                             403
                                                                               (propo
10                                                                             se
                                                                               using
11
                                                                               UWM
12                                                                             B0053
                                                                               99
13                                                                             instea
                                                                               d)
14   244    07/28/2017 Re: Tentative offer of        MB001272-73        X
                       employment NP position
15                     with VA Puget Sound
                       (ARPA 2682360)
16   245    08/04/2017 Email to Reid Stell from      MB-002104-2109     X
                       MB
17   246    08/04/2017 Letter to Francis from Reid   UWMB002859-2865    X
                       Stell
18   247    08/04/2017 Healthcare Provider           MB-001815-1821     X
                       Statement
19
     248    08/04/2017 Email to Stell encl           MB-002104-2109     X
20                     Healthcare Provider
                       Statement
21   249    08/16/2017 EEOC Charge of                UWMB005520         X
                       Discrimination
22   250    08/16/2017 Letter to MB from Francis     UWMB00001712-      X
                       re 6 Month Leave of           1713
23                     Absence Status
     251    08/16/2017 Memo from Francis to MB       UWMB00001718-      X
24                     re Medical Leave-             1719
                       Disability Approval
25
     252    08/16/2017 Email from Balch to           UWMB008201         X
26                     Francis re M. Brzycki
                       Accommodation -
27
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                                                                        Stip   Stip      Object to   Adm
     Def      Date                Document                 Bates        Adm    Auth      Auth and
 1   Ex                                                                        But not   Adm
                                                                               Adm
     No
 2                     Continued Leave of
 3                     Absence
     253    08/21/2017 Email from Roland to          UWMB008214-8217    X
 4                     Balch re MB questions
                       with att. (M_Brzycki
 5                     investigatory interview
                       questions 08.21.17.docx)
 6   254    08/24/2017 Roland to Balch email re      UWMB008220-8224    X
                       MB questions updated for
 7                     investigatory mtg
     255    09/29/2017 Email from MB to Kalani       MB-001016          X
 8

 9   256    10/03/2017 Schuringa medical records     MB-001922-1931     X

10   257    10/03/2017 Sternoff Chart Notes          MB-001920-1922     X

11   258    10/06/2017 Letter to Mary Hammock        UWMB00000442-450          MIL
12                     from Alina McLauchlin re
                       Respondent's Position
13                     Statement and Response to
                       Request for Information
14   259    10/08/2017 Healthcare Provider           MB-001845-1849     X
                       Statement
15   260    10/18/2017 Health Care Provider          UWMB002825         X
                       Statement - Stell
16
     261    10/19/2017 Email to Stell from MB re     MB-002043          X
17                     Kim's question regarding
                       accommodation
18   262               WITHDRAWN

19   263    10/20/2017 Email to MB from Stell re     MB-002038-2040     X
                       Form for Ms. Brzycki
20
     264                WITHDRAWN
21
     265    10/23/2017 October Email string          MB-002025-2032     X
22

23   266    10/24/2017 October Email string          MB-002018-2022     X

24   267    10/25/2017 Email from Stell to Francis   UWMB002843-2853    X
                       re Form for Ms. Brzycki
25
     268    10/25/2017 October Email string          MB-002008-2017     X
26
27
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                                                                      Stip   Stip      Object to   Adm
     Def      Date                Document               Bates        Adm    Auth      Auth and
 1   Ex                                                                      But not   Adm
                                                                             Adm
     No
 2   269                WITHDRAWN
 3
     270    10/25/2017 October Email string        MB-002007          X
 4
     271    11/09/2017 Email from Francis to MB,   UWMB00001913-      X
 5                     Roland, Hare re M Brzucki   1915
                       Accommodation
 6
                       Implementation Letter
 7                     (with att)
     272    11/09/2017 Email string Re: Meeting    MB000363-64               401,
 8                     today                                                 402,
                                                                             403.
 9                                                                           (propo
                                                                             se
10                                                                           using
                                                                             UWM
11                                                                           B0057
                                                                             15
12                                                                           instea
                                                                             d)
13   273    11/09/2017 Letter re Medical Leave-    UWMB00000849-850   X
                       Disability Approval
14
     274    11/10/2017 Email string w/attached     MB-001985-1994     X
15                     11/19/17 Memo to Brzycki
                       from Francis and
16                     Healthcare Provider
                       Statement
17   275    11/11/2017 Health Care Provider        UWMB002809-2813    X
                       Statement - Stell
18
     276    11/11/2017 Healthcare Provider         MB-001860-1864            Cumu
19                     Statement                                             lative
                                                                             (same
20                                                                           conten
                                                                             ts as
21                                                                           275)
     277    11/12/2017 VA- done                    MB-001002          X
22
     278    11/13/2017 Healthcare Provider         MB-001855-1859     X
23                     Statement
24   279    11/16/2017 Disability Accommodation    UWMB002793         X
                       Review Team Meeting
25   280    11/17/2017 Fax from Francis to Stell   UWMB002808         X
                       with Health Care Provider
26                     Statement
27
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                                                                         Stip   Stip      Object to   Adm
     Def      Date                Document                  Bates        Adm    Auth      Auth and
 1   Ex                                                                         But not   Adm
                                                                                Adm
     No
 2   281    11/17/2017 Medical Leave-Disability       UWMB00000846-847   X
 3                     Approval letter
     282    11/17/2017 Letter to MB from Francis      UWMB00001977-      X
 4                     re 9 Month Leave of            1978
                       Absence Status
 5   283    11/18/2017 Stell email to Francis re      UWMB00000878-879   X
                       Fax
 6
     284    11/30/2017 Email from Francis to MB       UWMB0002051        X
 7                      re Status of disability
                        accommodation request
 8   285    12/01/2017 Oral Report Summary            UWMB003622-3626           MIL
                Approx. Outline
 9                Date
     286    01/09/2018 Letter to MB from Alina        UWMB003610         X
10                     McLauchlan re Internal
                       Investigation
11   287    08/08/2018 Letter to MB from EEOC         EEOC000007-11             MIL
                       re Charge Number 551-
12                     2107-01858C (follow up to
                       the rebuttal), Dismissal and
13                     Notice of Rights
     288    08/08/2018 Letter to MB from EEOC         EEOC000444-447            MIL
14                     re Charge Number 551-
                       2107-01080C (follow up to
15                     the rebuttal), Dismissal and
                       Notice of Rights
16
     289               WITHDRAWN
17
     290                 Patient schedule             UWMB00000056       X
18
     291                 Notes                        UWMB00000062       X
19

20   292               Email 11/3/16 from Tricia      UWMB00000063       X
                       Roland to Nola Balch re
21                     FYI re MB timecard
     293          Misc Bellevue Endocrine             MB-002716-2739            Found
22                     Consultants records                                      ation
23   294                 Tricia Roland CV             UWMB001023         X

24   295          Misc Text messages with Lilia       MB-002542-2549            401,
                       Merveus                                                  402,
25                                                                              403
     296    11/22/2016 Stell Client Registration      MB-001786-1804     X
26                     Information 11/22/16
27
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                                                                              Stip   Stip      Object to   Adm
     Def       Date               Document                  Bates             Adm    Auth      Auth and
 1   Ex                                                                              But not   Adm
                                                                                     Adm
     No
 2   297    2017-2018 Text Messages with Dr.          MB-002598               X
 3                    Michael “Reid” McDonald
     298       Various Overlake medical records       MB-002673-2715                 403
 4                                                                                   (cumu
                                                                                     lative)
 5   299                 Administrative Policy 45.5   UWMB-003293-3315        X
                         and FMLA policies
 6
     300                 Administrative Policy        UWMB003323-3338         X
 7                       Statement 46.5, Reasonable
                         Accommodation, and
 8                       related policies and forms
     301                 Complaint resolution –       UWMB003344-3345         X
 9                       Human Resources
     302                 Disability Accommodation     MB-002355-2359          X
10                       Policy
11   303                 Administrative Policy 46.5   MB-002523-2526          X

12   304                 Plaintiff’s Answers &                                       403
                         Responses to Def 1st
13                       Interrogatories/RFPs
     305                 Plaintiff’s 1st Supp                                        403
14                       Responses to Def 1st
                         Interrogatories & RFPs
15

16   306                 Plaintiff’s 2nd Supp                                        403
                         Responses to Def 1st
17                       Interrogatories & RFPs
     307                 Plaintiff’s 3rd Supp                                        403
18                       Responses to Def 1st
                         Interrogatories & RFPs
19
     308                 Brzycki Stroke Clinic        UWMB011012-19                  403
20                       Schedule Spreadsheet

21                           VIII.     DEPOSITION TRANSCRIPTS
22          Defendants intend to designate and present the entirety of the examinations of Beth Louie,
23   Abeba “Abby” Tesfamariam, and Jennifer Petritz via transcript and video pursuant to LCR 32(e),
24   the Court’s February 5, 2010 Order (Dkt. 71), and agreement of counsel. The parties will ask the
25   Court to rule on the few objections counsel made in these depositions.
26
27
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 1                                IX.    ACTION BY THE COURT

 2          This case is scheduled for a bench trial beginning on November 12, 2020, at 9:00 a.m. This

 3   order has been approved by the parties2 as evidenced by the signatures of their counsel on the filed

 4   proposed pretrial order (Dkt. No. 97). This order shall control the subsequent course of the action

 5   unless modified by a subsequent order. This order shall not be amended except by order of the

 6   court pursuant to agreement of the parties or to prevent manifest injustice.

 7

 8   DATED this 29th day of October, 2020.

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                                                          A
                                                          Marsha J. Pechman
11                                                        United States District Judge

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     2 The Court has made minor revisions the form submitted by the Parties to reflect the removal of
26
     Harborview Medical Center as a Party and the change to a bench trial commencing on November
27   12, 2020.

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